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March 5, 2021

VIA ECF

Hon. Naomi Reice Buchwald
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

Re:     In re Aegean Marine Petroleum Network, Inc. Securities Litigation,
        No. 18 Civ. 4993 (NRB)

Dear Judge Buchwald:

Lead Plaintiff, the Utah Retirement System (“Plaintiff”), submits this response to the Court’s March 2, 2021
letter (ECF No. 281) directing the parties to respond to issues concerning the Court’s decision in Kravitz v.
Tavlarios, No. 19 Civ. 8438 (“Kravitz”), 2020 WL 3871340 (S.D.N.Y. July 8, 2020) (the “Kravitz Order”).

I.      BACKGROUND

On March 6, 2020, Defendants Nikolas Tavlarios, Konomos, John Tavlarios and Georgiopoulos (collectively,
the “U.S. Defendants” or “Kravitz Defendants”) jointly filed a Motion to Dismiss the January 31, 2019
Consolidated Class Action Complaint alleging securities fraud1 (ECF No. 196). On June 30, 2020, Plaintiff
filed its Opposition to the Motion to Dismiss (ECF No. 250) (the “Opposition” or “Opp.”). On July 8, 2020
(after Plaintiff filed its Opposition), this Court entered the Kravitz Order dismissing the later-filed September
11, 2019 Original Complaint filed by the Trustee against the U.S. Defendants (the “Kravitz Complaint”).

On August 20, 2020, the U.S. Defendants filed a Reply Memorandum (ECF No. 268) (the “Reply”). Nowhere
in their Reply do the U.S. Defendants assert that the Kravitz Order has any preclusive effect on the case at
bar, making only conclusory references to it. This is not surprising since the Kravitz Complaint involves,
among other things, vastly different claims and different allegations regarding defendants’ wrongdoing and
intent, and relies on different factual support.




1The “Complaint” (ECF No. 81) is cited herein as “¶__.” All capitalized terms not otherwise defined herein
have the same meaning as set forth in the Complaint. Unless otherwise noted, all emphasis has been
added.
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II.     SECURITIES FRAUD AND CAREMARK CLAIMS INVOLVE FUNDAMENTALLY SEPARATE
        INQUIRIES

        A.       Derivative Breach of Fiduciary Duty Caremark Cases And Securities Fraud Cases
                 Address Substantively Distinct Factual And Legal Questions

A derivative suit asserts claims by a Company against its officers and directors for breaches of fiduciary
duty, including duties of loyalty and good faith owed to the Company. In re Walt Disney Co. Deriv. Litig.,
906 A.2d 27, 67 (Del. 2006). Such breaches, which implicate matters of the company’s internal controls
and business judgment, typically stem from directors’ failures to act in good faith vis-à-vis the company (i.e.,
entering into a transaction on which a director stands on both sides, or a sustained or systematic failure to
exercise oversight). A case about a systemic failure to exercise oversight is referred to as a “Caremark
case.”2

At its core, a Caremark claim requires establishing that officers and directors exercised their oversight
duties in bad faith. To plead a claim under Caremark, a Plaintiff must allege specific facts establishing that
the directors “utterly failed to provide a corporate reporting system to permit board-level review of compliance
with law,” or that the “directors were provided sufficient notice of corporate noncompliance with law such
that their failure to remediate amounts to bad faith.” Teamsters Local 443 Health Servs. & Ins. Plan v. Chou,
No. CV 2019-0816-SG, 2020 WL 5028065, at *1 (Del. Ch. Aug. 24, 2020).

By contrast, the Securities Exchange Act of 1934 (“Exchange Act”), which seeks to protect investors and to
maintain confidence in the securities markets, is focused on whether defendants misled investors by issuing
material misleading statements to them or by engaging in deceptive acts against them. See, e.g., 15 U.S.C.
§78j(b); H.R. Conf. Rep. 104-369, at 31 (1995), as reprinted in 1995 U.S.C.C.A.N. 730, 731. Specifically,
Section 10(b) of the Exchange Act prohibits those acts or omissions that result in fraud or deceit involving
the purchase or sale of a security. 15 U.S.C.A. § 78j(b). Thus, a Rule 10b-5 claim addresses misconduct
by an officer/director defendant that directly injures investors in connection with their purchases or sales of
a security. This misconduct can come in multiple forms, such as, making misleading statements of a material
fact or engaging in a scheme or practice to defraud. 17 C.F.R. § 240.10b-5(a), (b) & (c).

Pleading and proving a claim under Rule 10b-5 is different from than under a Caremark claim. The elements
of a Rule 10b-5(b) claim include: a material misrepresentation or omission by the defendant; scienter; a



2 The Caremark standard has developed as a framework to evaluate whether a company’s directors have
complied with their oversight duties to the company and whether the directors failed in those duties such
that they are incapable of considering a litigation demand in good faith. In re Caremark Int’l Inc. Derivative
Litig., 698 A.2d 959 (Del. Ch. 1996). To do this, the Caremark standard incorporates several concepts under
Delaware law, including: (1) whether to wrest control of the decision to pursue litigation against the
individuals involved in a corporate trauma away from the directors; (2) the fact that most of the decisions a
corporation makes through its human agents are not the subject of directorial attention; and (3) the Delaware
director exculpatory statute, 8 Del. C. § 102(b)(7), which exculpates all director misconduct unless the
director acted in bad faith or breached her duty of loyalty. Stone ex rel. AmSouth Bancorporation v. Ritter,
911 A.2d 362, 367-68 (Del. 2006).
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connection between the misrepresentation or omission and the purchase or sale of a security; reliance upon
the misrepresentation or omission; economic loss; and loss causation. Erica P. John Fund, Inc. v.
Halliburton Co., 563 U.S. 804, 810 (2011). A claim under Rule 10b-5(a) or (c) requires that a plaintiff show
that the defendant committed a deceptive or manipulative act, with scienter, that the act affected the market
for securities or was otherwise in connection with their purchase or sale, and that defendants’ actions caused
the plaintiffs’ injuries. In re ForceField Energy Inc. Sec. Litig., No. 15 Civ. 3020 (NRB), 2017 WL 1319802,
at *7 (S.D.N.Y. Mar. 2017) (Buchwald, J.).

Thus, a Caremark claim focuses on the directors’ inactions vis-à-vis the company, whereas a securities
fraud claim focuses on the individual defendants’ actions directed to shareholders. Each claim seeks to
vindicate distinct misconduct and different injury from a unique perspective.

        B.      Because the Claims Are So Different, The Focus and Scope of the Allegations of
                The Complaint here and the Kravitz Complaint Are Entirely Different

Even more importantly, the complaints allege entirely different facts regarding both defendants’ conduct and
their respective knowledge or intent regarding said conduct.

The Kravitz Complaint alleges solely that the Kravitz Defendants breached their fiduciary duties to the
Company by failing to monitor and failing to exercise oversight and investigate such that they failed to
prevent Melisanidis from looting Aegean through a sham consulting contract with OilTank and covering up
the illicit payments through fake accounts receivables. See, e.g., RJN Ex. 1 (ECF No. 249-1), at ¶¶1-9. It
does not allege that the Kravitz Defendants took any affirmative actions (against the Company or against
investors) or had any knowledge or reckless disregard of Melisanidis’ conduct – focusing instead on
assertions of knowingly abdicating their duties to the Company by failing to implement systems or monitor
them. Id. at ¶¶1-9, 29, 32, 37, 39, 43, 45, 50, 58, 59, 62, 67, 68, 79, 81-83, 85-87, 91-94, 96-98; see also
Kravitz Order, 2020 WL 3871340, at *5. At best, the Company alleges, in cursory form, that the Kravitz
Defendants’ knowledge related to abdicating their duties to the Company. RJN Ex. 1, at ¶1.

Based on these very limited allegations in the Kravitz Complaint, this Court concluded that the Trustee could
not satisfy the Caremark standard because the Kravitz Defendants did implement controls by establishing
an Audit Committee that retained an auditor to audit the Company’s financial statements and because the
effectiveness of its internal controls was sufficient to establish that a system of Board-level compliance
monitoring and reporting existed. Kravitz Order, 2020 WL 3871340, at *9. Similarly, the Court found that,
when presented with information about red-flags, members of the Board “remediated the weaknesses” and,
based on express allegations (RJN Ex. 1, at ¶53), that the Audit Committee actually commenced an
investigation once alerted to the potential fraud, thus “rebuff[ing] any contention that the Audit Committee
‘chose to do nothing’ in response to those irregularities.” Kravitz Order, 2020 WL 3871340, at *9. As
discussed below, Plaintiff alleges that the Audit Committee did not conduct a real investigation, which
allegations are supported by more recently filed statements on behalf of the Company. Thus, the fact that
the Trustee may have alleged that Board took certain steps to resolve problems with the Company’s internal
controls simply does not dispose of the securities claims, particularly given that the allegations here are far
more detailed and – in fact – altogether different.

The Complaint here details how the Officer and Director Defendants (i) issued false statements directly
to the investors regarding, among other things, the Company’s financial results (which the Company
later admitted were misleading), its internal controls regarding financial reporting (which the Company
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later admitted were utterly deficient)3 and the purpose of various transactions they approved to conceal
their fraud [e.g., Sections VI, VII]; and (ii) took deceptive acts in furtherance of the scheme that were
directed at concealing the massive fraudulent scheme from investors [e.g., Section V]. Furthermore, the
Complaint alleges a host of facts, which collectively demonstrate that the Officer and Director Defendants
acted knowingly or recklessly in issuing materially misleading statements and in engaging in deceptive
acts in furtherance of the fraudulent scheme.

The contrasting allegations as between both complaints may be best illustrated by the following chronology
set forth in our Complaint and Opp. This chronology evidences how each of the Company Defendants –
including the Kravitz Defendants – took affirmative actions to mislead investors and, contrary to the
inferences that have been drawn from the Kravitz Complaint, refused to investigate or stop their ongoing
fraud in the 13-month period after being alerted to the fraud by third parties outside the Company:4

       Sometime in May 2017, PwC Greece alerted the Audit Committee Defendants (which included
        Konomos) about irregularities in Aegean’s outstanding receivables. RJN Ex. 1, at ¶53. That same
        month, on May 16, 2017, Aegean filed its 2016 Form 20-F, which the Company later admitted were
        false, in part based on sham accounts receivables.5 See, e.g., ¶¶7-9, 26-27, 149-51, 189, 231, 236,
        479.

       After being alerted by PwC Greece, the Company continued to file quarterly reports with the
        approval of the Audit Committee, which reports the Company later admitted were false and
        misleading, including for Q1 2017 (issued May 24, 2017) through Q4 2017 (issued March 7, 2018).
        ¶¶230, 234, 303. Nikolas Tavlarios as well as Gianniotis continued to sign off on these financials
        and issued statements about the strength of these financials and the Company’s business until their
        terminations in June 2017 and April 2018, respectively. ¶¶234-35, 303-06, 308.6

       On June 1, 2017, Nikolas Tavlarios, suddenly resigned “by mutual agreement.” ¶194.
       Because Melisanidis, John Tavlarios and Georgiopoulos lost shareholder voting control, John
        Tavlarios and Georgiopoulos were voted off the Board at the June 8, 2017 shareholder meeting.
        ¶195.

       Starting sometime in 2017, the Activist Investors Committee tried to engage with the Audit



3The Complaint alleges how the contention that the internal controls in 2014 were remedied were misleading
and nevertheless the ultimate investigations revealed that Company’s internal controls were utterly deficient.
¶¶27, 437, 479.
4  While Plaintiff offers this example, the Complaint is replete with additional examples of scienter. E.g.,
(i) the fact that the Reconstituted Audit Committee (“RAC”) discovered the fraud in a mere two weeks (Opp.
at 26-27); (ii) the insiders ignored significant red flags (id. at 28-31); (iii) Nikolas Tavlarios, Gianniotis and
the Audit Committee Defendants were responsible for oversight of internal controls, which the Company
ultimately admitted were utterly ineffective, despite having claimed to have remedied internal control issues
regarding related-party transactions in 2014 (id. at 31-32).
5 This was filed late after a May 1, 2017 filing of a Notification of Late Filing (Form 12b-25) with the SEC,
disclosing that the Company needed an extension to complete its assessment to file its 2016 Form 20-F.
6 On December13, 2016, the Company filed a prospectus for a $150 million convertible Notes offering which
included the most recent financials and was expressly incorporated into the Registration Statement filed by
each of the Company Defendants. ¶¶187-90, 474; RJN Ex. 9, at 31.
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       Committee in the coming months – but to no avail.
      On November 27, 2017, Konomos admitted to a member of the Activist Investors Committee that
       he suspected that Melisanidis might engineer a purchase of another Melisanidis company “to regain
       voting control and ensure that no independent directors would be appointed.” ¶208.
      On December 20, 2017, the Activist Investors Committee sent Audit Committee Defendant
       Papanicolaou a letter objecting, among other things, to indications that the Company would reduce
       its Board to four members and continuing related-party transactions with Melisanidis, and advising
       that it would nominate four independent members at next annual shareholder meeting, usually held
       in June. ¶¶20, 196.
      On February 26, 2018, Konomos further acknowledged to a member of the Activist Investors
       Committee that, if Melisandis did engineer a purchase to regain control, it would be a
       “problem for current shareholders, stating frankly that, if the transaction closes, ‘You’ll be
       F**k*d.’” ¶208.

      Despite this admission and the PWC Greece warning, the Company structured the “HEC
       Acquisition” with Melisanidis. On February 20, 2018, the Company announced the transaction and
       advised that it was recommended by a Special Committee of the Board (which included Konomos,
       Papanicolaou and Koutsomitopoulos) and approved by the full Board (which also included
       Fokas). Pursuant to this deal, Aegean would pay $367 million (in cash and assumption of certain
       debt) to acquire H.E.C. Europe Limited (“HEC”), give 33% shares to Melisanidis or his family, which
       allowed him to have full voting shareholder control, and provided that HEC would designate three
       board members (one of which was Melisanidis’ son). ¶¶21, 197, 315. There could be no more
       blatantly deceptive act in furtherance of the fraudulent scheme in violation of Rule 10b-5(a) & (c).
       See, e.g., Forcefield Energy, 2017 WL 1319802, at *8.
      Moreover, McIlroy and Papanicolaou issued statements touting a false narrative about the purpose
       of the transaction and how the Board and management viewed this as part of a strategic plan.
       ¶¶316-20. These statements were misleading because they provided a false pretense for the
       acquisition, which was, in fact, designed to give full shareholder voting control to Melisanidis and
       exclude independent directors – precisely as Konomos admitted he would. Id.

      On March 8, 2018, the Activist Investor Committee filed a suit to enjoin the HEC Acquisition, against
       Aegean and its four Board members (which included Konomos), arguing that the transaction was
       designed to (i) thwart their attempts to appoint independent directors; (ii) stack the Board with
       friendly directors; and (iii) dilute the interests of shareholders. ¶¶22, 203-04.

      Based on the alleged facts which are referenced in the Complaint, on March 12, 2018, the Honorable
       Loretta A. Preska of the Southern District of New York granted a preliminary injunction halting the
       transaction. ¶209.
      On March 27, 2018, the transaction was terminated and, on May 2, 2018, the Company announced
       that an agreement was reached with the Activist Investor Committee and further that the Company
       had agreed to appoint three independent members to the Board. ¶¶23, 211.
      On April 17, 2018, Gianniotis, Aegean’s CFO since 2008, “resigned.” ¶211.
      On June 4, 2018, the Company announced that the existing members of the Audit Committee
       (including Konomos) had been forced to step down by May 22, 2018 and there was a newly
       appointed and reconstituted Audit Committee (“RAC”) comprised of entirely new people. ¶¶7, 213;
       see also May 22, 2018 Press Release (attached to May 22, 2018 Form 6-K).
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          The June 4, 2018 press release also announced that the newly appointed RAC had discovered
           that: (a) approximately $200 million of accounts receivable owed to the Company as of December
           31, 2017 would need to be written off and that the transactions giving rise to the receivables were
           “without economic substance and improperly accounted for in contravention of the Company’s
           normal policies and procedures”; (b) the Audit Committee would recommend that Aegean pursue
           claims against individuals and entities involved in these transactions; (c) the Company would identify
           weaknesses in the Company’s internal controls and remedy such weaknesses; (d) “a number of
           individuals employed by the Company across multiple functions who are believed to have been
           involved in the transactions have been terminated or placed on administrative leave pending the
           outcome of the investigation”; and (e) the RAC’s preliminary finding had been reported to the SEC
           and DOJ. ¶¶24, 213, 477.

In Kravitz, the Trustee alleged that the Audit Committee Defendants actually started investigating the
potential improprieties once they were advised by PWC which led to the revelations here. RJN Ex. 1, at
¶53. However, Plaintiff here clearly alleges the Company Defendants were part of the cover up and that the
RAC conducted the only meaningful investigation. See, e.g., ¶¶7, 26, 373, 403, 477.

Indeed, the Complaint and the Company’s filings in the second half of 2018 and 2019 (issued after the
Complaint was filed) explain that (i) the RAC forced the Audit Committee members to leave shortly after they
joined; (ii) as of at least May 22, 2018, it was only the RAC and the newly appoint CFO were working through
its annual reporting process; and (iii) per the June 4, 2018 press release, the review was now being
conducted by the RAC, which is now “solely comprised of the three recently elected independent members”
of the Board.7 As disclosed in bankruptcy filings, the (i) RAC began working closely with Arnold & Porter
Kaye Scholer LLP to lead the internal independent internal investigation following the June 4, 2018
announcement;8 and (ii) “no legacy member of the Board of Directors has any role on the Audit
Committee or oversight of the Investigation”;9 (iii) the RAC also retained Kobre & Kim LLP in July 2018
for asset recovery and claim monetization strategies;10 (iv) Ernst & Young apparently did the forensic
accounting work;11 and (v) “Arnold & Porter is uniquely positioned to continue representing the Debtors
because it has been the sole special counsel advising the Debtors regarding the Investigation since it
commenced”;12 and (vi) “The Audit Committee determined to commence the Investigation after the Debtors
became aware of certain accounts receivable reflected in the Debtors’ financial statements that lacked




7
  ¶213; May 2, 2018 Press Release (attached to May 2, 2018 Form 6-K); May 22, 2018 Press Release
(attached to May 22, 2018 Form 6-K); June 4, 2018 Press Release (attached to June 4, 2018 Form 6-K).
8Decl. of Tyler Baron, Director of Aegean, In Supp. of Ch. 11 Petitions & First Day Motions, In re Aegean
Marine Petroleum Network, Inc., No. 18-13374 (“Aegean Bankruptcy Action”) (Bankr. N.D. Cal. Nov. 6,
2018), ECF No. 2, at ¶¶72-74.
9   Id. at ¶75.
10
 Application to Employ Kobre & Kim LLP as Special Counsel, Aegean Bankruptcy Action (Bankr. N.D. Cal.
Nov. 16, 2018), ECF No. 96, at ¶6 & Ex. C (July 20, 2018 Kobre & Kim LLP letter to RAC).
11Decl. of Tyler Baron in Supp. of Confirmation of the Joint Plan of Reorg. of Aegean, Aegean Bankruptcy
Action (Bankr. N.D. Cal. May 22, 2019), ECF No. 479, at ¶16.
12Application to Employ Arnold & Porter Kaye Scholer LLP as Special Counsel, Aegean Bankruptcy Action
(Bankr. N.D. Cal. Nov. 16, 2018), ECF No. 91, at ¶7.
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economic substance and were improperly recorded in contravention of the Debtors’ accounting principles,”
which was in June 2018.13

There is no clearer statement that the Defendants did nothing to investigate than the declaration by the Chair
of the RAC made on March 22, 2019 (after the filing of the Complaint):

           Prior to the May 2018 board restructuring, a law firm had been retained in 2017 by the prior
           audit committee to initiate an investigation into the $200 million of receivables which had
           been intended to be used as a form of consideration in the attempted HEC acquisition. The
           law firm had begun its work in late 2017. But little to nothing had happened in the six months
           prior to the May 2018 board restructuring. In the first week of May, the law firm briefed the
           new board members on these matters indicating that the counterparties and underlying
           transactions related to these receivables were suspicious.14

The declaration further states that the purported investigation conducted prior to the RAC “was essentially
nowhere.”15

Thus, in this example alone, unlike the Trustee who simply alleges that the Kravitz Defendants took no
action, the Complaint affirmatively alleges that – after learning from PWC Greece about concerns with the
Company’s receivables and knowing that Melisanidis would try to orchestrate an acquisition with one of his
company’s to regain control and avoid new independent directors joining the team – the Kravitz Defendants
(and others) (i) continued to allow the Company to issue of false quarterly reports; (ii) misled investors
regarding the purpose of the HEC Acquisition; and/or (iii) voted in favor of or approved the HEC Acquisition.

To be clear, this example of blatant knowing or recklessness in affirmatively issuing false statements to
investors and actively taking deceptive acts to further the fraudulent scheme speaks to Defendants’ scienter
throughout the Class Period as it demonstrates that – even when told by independent third parties to look
into the matter – they continued to mislead investors about the Company’s financials and value and give
free-reign to Melisanidis to continue to loot the Company at the expense of shareholders. Any steps
regarding the stepping down of Nikolas Tavlarios and the CFO were apparently efforts to appease the
Activist Investors Committee. Had they not known or recklessly disregarded the fraud, their reaction would
have been very different to this news.16 Accordingly, for this and all the additional allegations regarding the
Kravitz Defendants’ conduct and scienter throughout the Class Period, Plaintiff’s Complaint should be
upheld.




13Id. While the Audit Committee Defendants presumably remained on the Board, this appears to simply be
a function of the fact that Board members serve at the will of shareholders pursuant to a shareholder vote.
Since the Company never issued its FY 2017 financials or 2017 Form 20-F and then went bankrupt in late
2018, the last shareholder vote was in June 2017.
14   Decl. of Tyler Baron in Supp. of Confirmation of the Joint Plan of Reorg., supra, ECF No. 479, at ¶14.
15   Id. at ¶19.
16Plaintiff here does not speak to the issue of whether the facts might support a Caremark claim. However,
the point is that, regardless, the facts do support claims for violations of the federal securities laws where
defendants took affirmative act against shareholders.
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It is important to note also that this case involves a multitude of defendants not named in Kravitz Complaint
including the founder, former chief financial officer, second president, former general counsel, foreign-based
directors who were members of the Audit Committee and other auditors.

         C.       The Kravitz Decision Has No Preclusive Effect On The Pending Case

As noted by the Court, Kravitz is on appeal to the Second Circuit. Whether the Kravitz Order is affirmed, in
whole or in part, is of no moment to the pending proceeding and cannot bind Plaintiff and the proposed
Class, particularly given the dramatically different factual allegations of wrongdoing.

Collateral estoppel and res judicata are both affirmative defenses. Accordingly, the U.S. Defendants have
the burden of proving that either doctrine applies. Goldberg Cohen, LLP v. Luv N’ Care, Ltd., No. 16 Civ.
6576 (NRB), 2018 WL 4538927, at *6 (S.D.N.Y. Sept. 20, 2018). The U.S. Defendants have not asserted
either the doctrine of collateral estoppel or res judicata in their papers. Nor have the U.S. Defendants sought
leave to amend their motion to dismiss to raise these arguments. In any event, even if they had raised these
defenses, the circumstances here do not permit the application of collateral estoppel and res judicata.

                  1.       Collateral Estoppel Is Inapplicable Because Plaintiff and the Class Were Not
                           Parties And Did Not Have Representation In The Kravitz Action And Because
                           The Issues In The Kravitz Action Were Different

Issue preclusion, or collateral estoppel, “bars successive litigation of an issue of fact or law actually litigated
and resolved in a valid court determination essential to the prior judgment, even if the issue recurs in the
context of a different claim.” Kaplan v. S.A.C. Capital Advisors, L.P., No. 12 CIV. 9350 (NRB), 2017 WL
6403087, at *9 (S.D.N.Y. Nov. 16, 2017), aff’d, 919 F.3d 154 (2d Cir. 2019). In determining whether issue
preclusion applies, the Court considers four requirements:

         (1) the identical issue was raised in a previous proceeding; (2) the issue was actually
         litigated and decided in the previous proceeding; (3) the part[ies] had a full and fair
         opportunity to litigate the issue; and (4) the resolution of the issue was necessary to support
         a valid and final judgment on the merits.

Id. at *9 (citations omitted).

First, neither Plaintiff nor the Class were parties in the Kravitz action and were not represented in those
proceedings. It would be unfair to bind Lead Plaintiff and the putative Class to findings in another proceeding
where it and its counsel was vetted and appointed by this Court to litigate the issues on behalf of the putative
class. E.g., In re First Cent. Fin. Corp., 238 B.R. 9, 20 (Bankr. E.D.N.Y. 1999) (rejecting assertion that non-
party trustee asserting derivative claims in a separate action could be bound by findings reached in a
separate shareholders’ direct action involving same defendants).

Court-appointed Class Counsel should not be constrained by the work or focus of the Trustee’s counsel in
a different case. Indeed, it would be unjust to bind Plaintiff and the Class to the limited fact allegations and
assertion in the Trustee’s 30-page complaint and ignore the substantial investigation and additional factual
allegations culminating in Plaintiff’s 200-page Complaint which has claims against numerous additional
defendants (not named in Kravitz, including the founder, former chief financial officer, president, general
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counsel, foreign-based directors, and auditors). Findings in the Kravitz Order have no bearing on securities
fraud claims against these additional named defendants for actual acts taken against the Class.

Second, as detailed above, the Caremark claim and the 10b-5 claims are separate and distinct claims,
which allege different misconduct – breaches of fiduciary duty duties for failing to act versus actual actions
directed at the Class through acts in furtherance of the fraudulent scheme and misrepresentations – and
require a presentation of different evidence. See In re First Cent. Fin. Corp., 238 B.R. at 20 (rejecting
collateral estoppel argument and stating “[w]e fail to understand how the Trustee, in his mismanagement
lawsuit, can be bound by findings in the [class action], when that suit forwards different claims, alleges
different duties, and requires a presentation of different evidence”) (citation omitted).

Thus, collateral estoppel is inapplicable here.

                 2.      Res Judicata Cannot Be Applied Here Because Plaintiff Was Neither A Party
                         Nor In Privity To The Trustee Which Asserted A Claim On Behalf Of The
                         Company And Because Plaintiffs’ Securities Claims Were Not Asserted And
                         Could Not Have Been Asserted By The Trustee

“Under the doctrine of res judicata, or claim preclusion, ‘a final judgment on the merits of an action precludes
the parties or their privies from relitigating issues that were or could have been raised in that action.’”
Flaherty v. Lang, 199 F.3d 607, 612 (2d Cir. 1999) (quoting Rivet v. Regions Bank of La., 522 U.S. 470, 476
(1998)). A defendant asserting res judicata must show that “(1) the previous action involved an adjudication
on the merits; (2) the previous action involved the same adverse parties or those in privity with them; and
(3) the claims asserted in the subsequent action were, or could have been, raised in the prior action.” Marcel
Fashions Grp., Inc. v. Lucky Brand Dungarees, Inc., 779 F.3d 102, 108 (2d Cir. 2015) (alterations omitted).

The second and third requirements are plainly not satisfied here. Plaintiff (and the Class) was not a party in
Kravitz and is not in privity with the Trustee. Further, the Trustee did not and could not have asserted the
securities class action claims in the present case as he had no standing to do so. See, e.g., In re Semtech
Corp. Sec. Litig., No. CV 07-7114 CAS (FMOx), 2008 WL 11333471, at *8 (C.D. Cal. Dec. 15, 2008)
(“Plaintiff’s claim is for a distinct injury suffered by the shareholders—overpaying for artificially inflated
Semtech stock. Therefore, any resulting damages from this claim belong to the shareholders who purchased
stock during the class period and not Semtech.”). Accordingly, res judicata cannot apply.

        D.       Courts Have Sustained Rule 10b-5 Claims in Direct Actions Where Caremark Claims
                 Have Been Dismissed in Derivative Proceedings

Because the claims and underlying wrongdoing are so different between breach of fiduciary duty and
securities fraud cases, it is not surprising that a survey of matters where facts have given rise to securities
fraud claims on behalf of shareholders and breach of fiduciary duty claims on behalf of a company under
Caremark reveals that courts will sustain Rule 10b-5 claims despite the dismissal of Caremark claims in
parallel derivative actions:

       In re Bristol Myers Squibb Co. Sec. Litig., 586 F. Supp. 2d 148, 161, 168-72 (S.D.N.Y. 2008) (Judge
        Crotty upheld plaintiffs’ §§ 10(b) and 20(a) Exchange Act claims relating to false statements to
        investors which were misleading because they failed to disclose secret side agreements with
        Apotex, Inc., limiting the company’s ability to recover damages and enforce its patent
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           rights). Sampson v. Robinson, No. 07 CIV. 6890 (PAC), 2008 WL 3884386, at *7 (S.D.N.Y. Aug. 20,
           2008) (in the derivative action arising under the same events, Judge Crotty dismissed the Caremark
           claims and found no oversight failure where plaintiffs alleged only a “generalized failure to scrutinize
           management’s conduct”).

          In re EVCI Colls. Holding Corp. Sec. Litig., 469 F. Supp. 2d 88, 99 (S.D.N.Y. 2006) (Judge McMahon
           sustaining claims under Rule 10b-5 against CEO/director, CFO and chairman). Ferre v. McGrath,
           No. 06 Civ.1684 CM, 2007 WL 1180650, at *1, *8 (S.D.N.Y. Feb. 16, 2007) (Judge McMahan
           dismissing shareholder derivative complaint which “relie[d] on many of the same allegations as a
           related class action complaint that this court recently declined to dismiss” against the same
           CEO/director and chairman named in the class action).

          In re Citigroup Inc. Sec. Litig., 753 F. Supp. 2d 206, 239 (S.D.N.Y. 2010) (Judge Stein upholding in
           part plaintiffs’ § 10(b) allegations that defendants materially misstated its risks to collateralized debt
           holdings and finding that plaintiff had adequately plead facts giving rise to a strong inference of
           scienter with respect to the risks associated with Citigroup’s CDO exposure). In re Citigroup Inc.
           S’holder Deriv. Litig., 964 A.2d 106, 128 (Del. Ch. 2009) (dismissing Caremark claims relating to
           Company’s exposure to the subprime lending market including its CDO exposure, finding, plaintiffs’
           allegations, at most, evidenced that the directors made bad business decisions).

          N.Y. State Teachers’ Ret. Sys. v. Gen. Motors Co., 315 F.R.D. 226, 231, 233 (E.D. Mich. 2016)
           (securities fraud class action alleging violations of § 10(b) of the Exchange Act and Rule 10b-5
           arising from defendants’ false and misleading statements about GM’s product warranty and recall
           liabilities, settled for $300,000,000 after the defendants’ motions to dismiss were fully briefed), aff’d
           sub nom. Marro v. N.Y. State Teachers’ Ret. Sys., No. 16-1821, 2017 WL 6398014 (6th Cir. Nov. 27,
           2017). In re Gen. Motors Co. Deriv. Litig., No. CV 9627-VCG, 2015 WL 3958724, at *17 (Del. Ch.
           June 26, 2015) (dismissing Caremark claim arising out of same event that formed basis for securities
           fraud claims and finding that the allegations demonstrate that directors “did a poor job of overseeing
           risk in a poorly-managed corporation” but did not “imply director bad faith”), aff’d, 133 A.3d 971 (Del.
           2016).

III.       CONCLUSION

For the reasons stated herein, Plaintiff submits that the Kravitz Order which is on appeal to the Second
Circuit has no impact on the pending proceedings.

Respectfully,




Nicole Lavallee
